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                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                             WESTERN DIVISION

IN RE:                                               )     CHAPTER 13
                                                     )
NATHALIE D JACKSON                                   )     CASE NO. 24-80991
                                                     )
                                  Debtor(s).         )

                           TRUSTEE’S OBJECTION TO CONFIRMATION OF
                                CHAPTER 13 PLAN FILED 7/22/2024

                NOW COMES Lydia S. Meyer, the standing Chapter 13 Trustee for the United
States Bankruptcy Court for the Northern District of Illinois, Western Division, and as for her Objection to
Confirmation states as follows:
         1.    The debtor(s) filed for Chapter 13 relief on 7/22/24 .
         2.    The 341 (a) Meeting of Creditors held on 8/26/2024 was…
                            Concluded
                            Taken off calendar
                            Continued to                                                              .
         3.        The debtor(s) failed to appear [11 USC 341(a)] for 341 meeting on                  .
         4.        The debtor(s) failed to commence Chapter 13 Plan payments
                    [11 USC 1326(a)(1)].
         5.        The debtor(s) is/are delinquent in the Chapter 13 Plan payments.
         6.        The post-petition payments to secured creditors are delinquent.
         7.        The debtor(s) is/are not eligible for Chapter 13 [11 USC 109(e)(g)].
         8.        The trustee objects to the exemption(s) claimed [B.R. 4003(b)] CASH ACCOUNTS UNDER
         9.        The Debtors/Husband/Wife are not entitled to a discharge.          15 USC SECTION1673
         10.        The plan filed 7/22/2024 by the debtor(s) fails to meet confirmation requirements and
                    the Trustee objects to confirmation of the Chapter 13 plan for the following reasons:
                   The proposed Chapter 13 Plan is not feasible [11 USC 1325(a) (6)] as the debtor(s)
                    lacks sufficient regular income [11 USC 109(e)] and/or debtor(s) cannot afford plan
                    payments
                   The Chapter 13 Plan unfairly discriminates against class of general
                    unsecured claims [11 USC 1322(b)(1)].
                            Plan pays creditor                                        as secured beyond
                             value of collateral.
                            Plan proposes to pay                              at 100% while other
                             unsecured creditors receive less than 100%.
                            Plan proposes to pay                              directly which results in that
                             creditor being paid 100% while other unsecured creditors are being paid less
                             than 100%.
         LIQUIDATION –
                   Proposed Chapter 13 plan fails to meet liquidation value [11 USC 1325 (a)(4)]
                            Non-exempt equity $                Plan only paying $
                            Must be 100%
                            Must be 100% with interest
                            Fair market value of real estate higher per tax assessment than listed on
                             schedule A.
                            Other
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 DISPOSABLE INCOME -           Document        Page 2 of 4
       Proposed Chapter 13 plan fails to provide that all of debtor(s)’ projected disposable income to be
       received during the applicable commitment period will be applied to make payments to
       unsecured creditors under the plan, [11 USC 1325 (b)(1)(B)] or no cause to extend.
             Income higher for debtor/wife/husband per
             Unreasonable expenses

               Proof of following expenses required


               401k loan deduction $                 - Plan payment should
                increase when 401k loan is paid.
               Tax Refunds above $2,000 should be paid into plan in addition to plan
                payments.
               Other     AUTO EXPENSE ON SCHEDUE J AND AUTO BEING PAID THROUGH THE PLAN; THE
                          PLAN PROPOSES THE TRUSTEE MAKE THE DEBTORS POST PETITION AUTO PAYMENTS.
                          THE DEBTOR SHOULD MAKE THESE DIRECTLY OR THE CREDITOR SHOULD
                          BE LISTED IN 3.2
               Below Median Debtor
                     Excess per I/J =           $
                      Plan payments only         $
                     Other

               Above Median Debtor
                     Plan proposed is not 60 months.
                     Plan payment is insufficient – Debtor’s actual monthly income
                      minus IRS allowances requires plan payment of $               ;
                      Plan proposes payment of $
                     Following expenses are inconsistent between schedules I/J and
                      form 122C2

                       Following lines are incorrect on 122C1/122C2:

                       Amended 122C1 Required.
                       Other


                       Cannot be determined if above or below median income or if disposable
                               income requirement met in above median case
                              Need proof of income for prior 6 months FROM RENT OR BUSINESS
                                                                        AND FOR
                              Number in household in question          NON FILING SPOUSE
                              Amended 122C1 required

 PLAN PROBLEMS -
         Plan fails to provide for following secured creditors QUANTUM3 GROUP
                FILED COURT CLAIM #1

               Plan fails to provide for full payment of all claims entitled to priority as
                required by Section 507(a)(1)(B).
               Plan fails to provide for fixed monthly installments for all secured creditors
                in paragraph 3.1, 3.2, 3.3, and 3.4 [11 USC 1325 (a)5].
               Following claims will not be paid off within plan term at fixed monthly
                payment amount.

               Plan payment is insufficient to cover all fixed payments to creditors
                and Trustee’s fees.
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                       The Plan fails to include
                                            Documentthe following
                                                              Pagelanguage
                                                                    3 of 4 - "The Plan will conclude
                        before the end of the initial term only as such time as allowed claims are
                        paid in full with interest required by the plan."
                       The proposed Chapter 13 plan will not complete within 60 months
                        [11 USC 1315(a)4].
                       The plan proposes to pay certain creditors as secured. The documents
                        indicated below are needed for the following creditors:

                                                               Timely filed Proof of Claim
                             (Creditor)                        Security Documents

                                                               Timely filed Proof of Claim
                             (Creditor)                        Security Documents

                                                               Timely filed Proof of Claim
                           (Creditor)                          Security Documents

                          The following creditors listed in 3.2 and/or 3.4 did not receive notice pursuant
                           to Rule 7004:

                          The plan was not noticed to all creditors.
                          Notice was not provided to:
                          Debtor failed to list and provide notice to:
                          The following boxes are not checked:
                          The debtor(s) has/have failed to file Chapter 13 Plan in good faith.
                           [11 USC 1325 (a) (3)]
                          Prior bankruptcy filings by debtor(s)

                           Other: PER COUNTY WEBSITE SPELLING OF STREET NAME IS MENOMONIE; A CHANGE
                                   OF ADDRESS SHOULD BE FILED. SECTION 7.1 SHOULD HAVE PLAN CONFIRMATION BOX
                                   CHECKED. INTEREST SHOULD NOT BE PAID ON THE MORTGAGE ARREARAGE; **
                           Debtor(s) have failed to produce the following documents required
                            by 11 USC 1308(a)2, 521(e)2(A) and 521(a)1(B)1v:
                                   Proof that the debtor(s) filed the last 4 years of tax returns –
                                    11 USC§1307(e) states that the Court shall dismiss or convert a case
                                    to Chapter 7 upon the debtor’s failure to file no later than the day
                                    before the date of the original creditors meeting all tax returns for
                                    all taxable periods ending during the 4 year period ending on the
                                    date of the filing of the petition.
                                   Copy of Federal income tax return for                    .
                                    Pursuant to 11 USC§521(e)2(B), if the debtor fails to provide the most
                                    recent tax return 7 days before original first meeting of creditors, the
                                    Court shall dismiss the case unless the debtor shows that the failure to
                                    comply is “due to circumstances beyond the control of the debtor.”
                                   Paycheck stubs – Pursuant to 11 USC 521, debtor’s failure to file
                                    copies of all payment advices or other evidence of payment received
                                    within 60 days before the filing of the petition by the debtor from
                                    any Employer shall result in the automatic dismissal of the case on
                                    the 46th day after the date of the filing of the petition.
                                   The debtor(s) has/have failed to cooperate with the trustee [11 USC
                                    521(a) (3)] as the following document(s) was/were not provided:
                                            Acceptable certificate that debtor has completed the requisite
                                             debtor briefing [11 USC 109(h)1]
                                            Amended schedule E listing name and address of the holder
                                             of any domestic support obligation.

** MORTGAGE PER THE PLAN IS $1,117.00 AND PER SCHEDULE J $1,200.00; THE ITEMIZATION FOR THE ATTACHMENT AS
LISTED IN SCHEDULE A/B NOT ATTACHED SO SCHEDULE A/B SPARSE AND EXEMPTIONS BEING TAKEN ON PROPERTY NOT
LISTED
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                                      Certification
                                         Documentthat Page
                                                         the debtor
                                                                4 ofhas
                                                                     4 paid all amounts required
                                        to be paid under a domestic support obligation [11 USC 1325(a)8] or that
                                        the debtor(s) have no domestic support obligations
                                      Paycheck stubs
                                      Proof of Income from      RENT OR BUSINESS
                                      Profit and Loss statements
                                      Business Questionnaire and all attachments
                                      Proof of Social Security number
                                      Other PROOF DEBTOR IS CURRENT WITH POST PETITION MORTGAGE
                                               PAYMENTS.
        11.          Attorney’s Fees Issues – Listed here for informational purposes only – these
                      issues will not bar confirmation:
                             No fee application filed
                             Fee Application not noticed
                             Fee application and order are inconsistent
                             Other     ATTORNEY FEES SHOULD NOT BE LISTED ON SCHEDULE E
                            PROOF ATTORNEY PAID FOR $37.00 FOR THE CREDIT REPORT


                WHEREFORE, the Trustee objects to confirmation of the Chapter 13 Plan for the
foregoing reasons and requests that this case be dismissed.


                                                                /S/LYDIA S. MEYER
                                                        LYDIA S. MEYER

                                NOTICE OF FILING AND PROOF OF SERVICE

        Please take notice that on August 27th , 2024 this Objection to Confirmation was filed with the Clerk of
the United States Bankruptcy Court for the Northern District of Illinois, Western Division: a copy of which is
hereby served upon attorney of record and the debtor(s).

STATE OF ILLINOIS                       )
                                        )       SS
COUNTY OF WINNEBAGO                     )

               I, the undersigned being first duly sworn on oath, depose and state that I served a copy of this
OBJECTION TO CONFIRMATION upon attorney of record for the debtor via electronic notification that
occurs automatically upon the filing of said Objection to Confirmation. I further swear that I served a copy
upon the Debtor(s) to their current address on file with the Trustee's office by mailing a true and correct copy in
a properly addressed envelope, postage pre-paid at Rockford, IL at or about the hour of 5:00 p.m. on
     August 27th        , 2024.


                                                               /S/DOMINIC TASSONI
LYDIA S. MEYER, Trustee
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Rockford, IL 61105-4127
Telephone: 815/968-5354
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